


  DECISION
 

  PER CURIAM:
 

  T1 Raymond Stewart seeks to appeal his conviction for speeding after a trial de novo in district court. This is before the court on Lindon City's motion to dismiss for lack of jurisdiction.
 

  T2 Utah Code section 78A-7-118 provides for criminal appeals from justice courts. See Utah Code Ann. § 78A~-7-118 (2008). If a defendant files a timely notice of appeal from a justice court conviction, "a defendant is entitled to a trial de novo in the district court." Id. § "The right to an 'appeal' from a court not of record is satisfied by provision for a trial de novo in a court of record." Dean v. Henriod, 1999 UT App 50, ¶ 9, 975 P.2d 946. "The decision of the district court is final and may not be appealed unless the district court rules on the constitutionality of a statute or ordinance." Utah Code Ann. § 78A-7-118(7).
 

  13 This case originated in justice court. The district court did not rule on the constitutionality of a statute or ordinance in convicting Stewart after a trial de novo. Accordingly, the district court's decision is final and this court lacks jurisdiction over this appeal.
 

  [ 4 Dismissed.
 
